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THE OHIO SECURITY
INSURANCE COMPANY

Plaintiff,

v.

BEST INN MIDWEST, LLC

Defendant.

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF INDIANA
INDIANAPOLIS DIVISION

Case No. 1:20-cv-01223-RLY-DML

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CASE MANAGEMENT PLAN

L Parties and Representatives

A.

The Ohio Security Insurance Company, 175 Berkeley Street, Boston, MA 02113.
(513) 603-2400 tel. (317) 264-2573 fax

Best Inn Midwest LLC., 4505 S. Harding Street, Indianapolis, Indiana 46217.
(317) 788-9361 tel.

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for Plaintiff. 251 East Ohio Street, Suite 830, Indianapolis, Indiana 46204

josephdietz@email.com

Jonathan P. Sturgill, Esq., Attorney for Defendant. 5018 Quail Ridge Lane,
Indianapolis, Indiana 46254 (317) 201-3292 tel. jonnystera@msn.com

Craig Edward Kennedy, Esq. Attorney for Defendant. 16420 S.E. McGillivary
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kennedyced@gmail.com

Counsel shall promptly file a notice with the Clerk if there is any change in this
information.

il. Jurisdiction and Statement of Claims

A.

This court has original subject matter jurisdiction under 28 USC Section 1343,
e.g. Civil Rights Jurisdiction.

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HI.

This Court has ancillary jurisdiction over related state law claims under 28 USC
Section 1367, e.g. Supplemental Jurisdiction.

Plaintiff moves for Declaratory Judgment that there is no coverage provided to
Defendant by the terms of their commercial contract of insurance underwritten by
the company and sold by and through its agent.

Defendant counter claims that not only were there breaches of the insurance
contract by the company and/or its agents damaging the Defendant, but that the
actions of Ohio, by and/or through its agents violated: 1) the insurance laws of
Washington State, specifically under the Insurance Fair Conduct Act (FCA) and
the Unfair Claims Handling Regulations (The WACs} where the policy was
underwritten, 2) that the company and its agents have engaged in Bad Faith, 3)
that the company and/or its agents have engaged in Intentional Discrimination by
its acts directed against the defendant and 4) Constructive Fraud.

Pretrial Pleadings and Disclosures

A.

The parties shall serve their Fed. R. Civ. P. 26 initial disclosures on or before

[no later than 4 months from Anchor Date which Defendant acknowledges to be
May 22”°, 2020]. [Note: Fed. R. Civ. P. 26(a)(1)(E) permits the parties to object to
making initial disclosures or to stipulate to a different deadline for making such
disclosures based upon the circumstances of the action. If any objection and/or
stipulation is made to initial disclosures in the CMP, the parties shall briefly state
the circumstances justifying their respective positions. ]

Plaintiff(s) shall file preliminary witness and exhibit lists on or before September
29", 2020. [no later than 7 days after initial disclosures are served].

Defendant(s) shall file preliminary witness and exhibit lists on or before
{no later than 14 days after initial disclosures are served].

All motions for leave to amend the pleadings and/or to join additional parties shail
be filed on or before October 22°4, 2020[no later than 5 months from Anchor
Date].

Plaintiff(s) shall serve Defendant(s) (but not file with the Court) a statement of
special damages, if any, and make a settlement proposal, on or before

[no later than 5 months from the Anchor Date]. Defendant(s) shall serve on the
Plaintiff(s) (but not file with the Court) a response thereto within 30 days after
receipt of the proposal.

Except where governed by paragraph (G) below, expert witness disclosure
deadlines shall conform to the following schedule: Plamntiff(s) shall disclose the

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name, address, and vita of any expert witness, and shall serve the report required
by Fed. R. Civ. P. 26(a)(2) on or before [no later than 12 months from Anchor
Date]. Defendant(s) shall disclose the name, address, and vita of any expert
witness, and shail serve the report required by Fed. R. Civ. P. 26(a)(2) on or
before [30 days after Plaintiff(s) serves its expert witness disclosure]; or if
Plaintiff has disclosed no experts, Defendant(s) shall make its expert disclosure on
or before [no later than 13 months from Anchor Date].

G. Notwithstanding the provisions of paragraph (F), above, if a party intends to use
expert testimony in connection with a motion for summary judgment to be filed
by that party, such expert disclosures must be served on opposing counsel no later
than 90 days prior to the dispositive motion deadline. If such expert disclosures
are served the partics shall confer within 7 days to stipulate to a date for
responsive disclosures (if any) and completion of expert discovery necessary for
efficient resolution of the anticipated motion for summary judgment. The parties
shall make good faith efforts to avoid requesting enlargements of the dispositive
motions deadline and related briefing deadlines. Any proposed modifications of
the CMP deadlines or briefing schedule must be approved by the Court.

H. Any party who wishes to limit or preclude expert testimony at trial shall file any
such objections on or before [no later than 120 days prior to the proposed trial
month]. Any party who wishes to preclude expert witness testimony at the
summary judgment stage shall file any such objections with their responsive brief
within the briefing schedule established by S.D. Ind. L.R. 56-1.

I. All parties shall file and serve their final witness and exhibit lists on or before [no
later than 14 months from Anchor Date]. This list should reflect the specific
potential witnesses the party may cail at trial. It is not sufficient for a party to
simply incorporate by reference “any witness listed in discovery” or such general
statements. The list of final witnesses shall include a brief synopsis of the
expected testimony.

J. Any party who believes that bifurcation of discovery and/or trial is appropriate
with respect to any issue or claim shali notify the Court as soon as practicable.

K. Discovery of electronically stored information (“ESI”). If either party is seeking
the production of a substantial volume of ESI, then complete the ESI Supplement
to the Report of the Parties’ Planning Meeting (also available in MS Word on the
court’s website at http://www.insd.uscourts.gov/case-management-plans).

If the parties believe that a substantial volume of ESI will not be produced in the
case, the parties should include herein a brief description of the information
anticipated to be sought in discovery im the case and include (1) the parties’
agreement regarding the format in which ESI will be produced (including whether
the production will include metadata), (2) a description of any other issues the
parties believe may be relevant to discovery in the case, and (3) either the

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following claw back provision or the language of any alternative provision being
proposed:

In the event that a document protected by the attorney-client
privilege, the attorney work product doctrine or other applicable
privilege or protection is unintentionally produced by any party to
this proceeding, the producing party may request that the document
be returned. In the event that such a request is made, all parties to
the litigation and their counsel shall promptly return all copies of
the document in their possession, custody, or control to the
producing party and shall not retain or make any copies of the
document or any documents derived from such document. The
producing party shall promptly identify the returned document on a
privilege log. The unintentional disclosure of a privileged or
otherwise protected document shall not constitute a waiver of the
privilege or protection with respect to that document or any other
documents involving the same or similar subject matter.

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IV.

Discovery! and Dispositive Motions

Due to the time and expense involved in conducting expert witness depositions and other
discovery, as well as preparing and resolving dispositive motions, the Court requires
counsel to use the CMP as an opportunity to seriously explore whether this case is
appropriate for such motions (specifically including motions for summary judgment),
whether expert witnesses will be needed, and how long discovery should continue. To
this end, counsel must select the track set forth below that they believe best suits this
case. If the parties are unable to agree on a track, the parties must: (1) state this fact in
the CMP where indicated below; (2) indicate which track each counsel believes is most
appropriate; and (3) provide a brief statement supporting the reasons for the track each
counsel believes is most appropriate. Ifthe parties are unable to agree on a track, the
Court will pick the track it finds most appropriate, based upon the contents of the CMP
or, if necessary, after receiving additional input at an imitial pretrial conference.

A. Does any party believe that this case may be appropriate for summary judgment
or other dispositive motion? If yes, the party(ies) that expect to file such a motion
must provide a brief statement of the factual and/or legal basis for such a motion.
{Note: A statement such as, "Defendant will seek summary judgment because no
material facts are in dispute," is msufficient. Such a statement does not indicate
to the Court that the parties used the CMP as an opportunity to seriously explore
whether this case is appropriate for summary judgment or other dispositive
motion. However, the failure to set forth a basis for a dispositive motion in the
CMP will not bar a party from raising this argument at the motions stage. |

B. On or before [no later than 7 days after the non-expert discovery deadline], and
consistent with the certification provisions of Fed. R. Civ. P. 11(b), the party with
the burden of proof shall file a statement of the claims or defenses it intends to
prove at trial, stating specifically the legal theories upon which the claims or

defenses are based.

Cc. Select the track that best suits this case:

Track 1: No dispositive motions are anticipated. All discovery shall be
completed by [no later than 16 months from Anchor Date]. [Note:

I

The term “completed,” as used in Section IV.C, means that counsel must serve their discovery

requests in sufficient time to receive responses before this deadline. Counsel may not serve
discovery requests within the 30-day period before this deadline unless they seek leave of
Court to serve a belated request and show good cause for the same. In such event, the
proposed belated discovery request shall be filed with the motion, and the opposing party will
receive it with service of the motion but need not respond to the same until such time as the
Court grants the motion.

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VI.

Given that no dispositive motions are anticipated, the parties should consider
accelerating discovery and other pretrial deadlines to the extent practicable and
suggest a substantially earlier trial date (Section VI). The Court encourages a
track faster than the standard track in all cases in which dispositive motions are
not anticipated].

x Track 2: Dispositive motions are expected and shall be filed by
May 22", 2021 [no later than 11-12 months from Anchor Date]; non-expert
witness discovery and discovery relating to ability issues shall be completed by
March 22", 2021 {no later than 10 months from Anchor Date]; expert witness
discovery and discovery relating to damages shall be completed by August 22"4,
2021 [no later than 15 months from Anchor Date]. All remaining discovery shall
be completed by no later than 16 months from Anchor Date. [Note: The Court
expects this will be the typical track when dispositive motions are anticipated.]

Track 3: Dispositive motions shall be filed by [not later than

13 months from the Anchor Date]; non-expert discovery shall be completed by
; expert witness discovery shall be completed by

[Note: The Court provides Track 3 as an open option because it recognizes ‘that
there may be unusual cases for which special circumstances necessitate additional
flexibility. However, the Court has found that Tracks | and 2 are appropriate in
the large majority of cases, and therefore the parties must briefly state below the
special circumstances justifying a departure from Tracks 1 and 2.]

Absent leave of Court, and for good cause shown, all issues raised on summary
judgement under Fed. R. Civ. P. 56 must be raised by a party in a single motion.

Pre-Trial/Settlement Conferences

At any time, any party may call the Judge's Staff to request a conference, or the Court
may sua sponte schedule a conference at any time. The presumptive time for a settlement
conference is no later than 30 days before the close of non-expert discovery. The
parties are encouraged to request an earlier date if they believe the assistance of the
Magistrate Judge would be helpful in achieving settlement. The parties recommend
a settlement conference in October 2020. [month/year].

Trial Date

The parties request a trial date in November 2021. [month/year]. The trial is by Jury
[Court or jury] and is anticipated to take Three Days. hours/days. Counsel should
indicate here the reasons that a shorter or longer track is appropriate. While all dates
herein must be initially scheduled to match the presumptive trial date, if the Court agrees
that a different track is appropriate, the case management order approving the CMP plan
will indicate the number of months by which all or certain deadlines will be extended to
match the track approved by the Court.

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VIL =Referral to Magistrate Judge

A.

Case. At this time, all parties do not [do/do not] consent to refer this matter to the
currently assigned Magistrate Judge pursuant to 28 U.S.C. 636(c) and Fed. R. Civ.
P. 73 for all further proceedings including trial. [This section should be marked in
the affirmative only if all parties consent. Do not indicate if some parties consent
and some do not. Indicating the parties' consent in this paragraph may result in
this matter being referred to the currently assigned Magistrate Judge for all further
proceedings, including trial. It is not necessary to file a separate consent. Should
this case be reassigned to another Magistrate Judge, any attorney or party of
record may object within 30 days of such reassignment. If no objection is filed,
the consent will remain in effect.]

Motions. The parties may also consent to having the assigned Magistrate Judge
rule on motions ordinarily handled by the District Judge, such as motions to
dismiss, for summary judgment, or for remand. If all parties consent, they should
file a joint stipulation to that effect. Partial consents are subject to the approval of
the presiding district judge.

VIL. Required Pre-Trial Preparation

A.

TWO WEEKS BEFORE THE FINAL PRETRIAL CONFERENCE, the
parties shall:

i. File a list of trial witnesses, by name, who are actually expected to be
calied to testify at trial. This list may not include any witnesses not on a
party’s final witness list filed pursuant to Section IIL.I.

2. Number in sequential order all exhibits, including graphs, charts and the
like, that will be used during the trial. Provide the Court with a list of
these exhibits, including a description of each exhibit and the identifying
designation. Make the original exhibits available for inspection by
opposing counsel. Stipulations as to the authenticity and admissibility of
exhibits are encouraged to the greatest extent possible.

3. Submit ali stipulations of facts in writing to the Court. Stipulations are
always encouraged so that at trial, counsel can concentrate on relevant
contested facts.

4. A party who intends to offer any depositions into evidence during the
party's case in chief shall prepare and file with the Court and copy to all
opposing parties either:

a. brief written summaries of the relevant facts in the depositions that
will be offered. (Because such a summary will be used in lieu of
the actual deposition testimony to eliminate time reading

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depositions in a question and answer format, this is strongly
encouraged.); or

b. if a summary is inappropriate, a document which lists the portions
of the deposition(s), including the spectfic page and line numbers,
that will be read, or, in the event of a video-taped deposition, the
portions of the deposition that will be played, designated
specifically by counter-numbers.

Provide all other parties and the Court with any trial briefs and motions in
limine, along with all proposed jury instructions, voir dire questions, and
areas of inquiry for voir dire (or, if the trial is to the Court, with proposed
findings of fact and conclusions of law).

Notify the Court and opposing counsel of the anticipated use of any
evidence presentation equipment.

B. ONE WEEK BEFORE THE FINAL PRETRIAL CONFERENCE, the
parties shall:

L.

Notify opposing counsel in writing of any objections to the proposed
exhibits. If the parties desire a ruling on the objection prior to trial, a
motion should be filed noting the objection and a description and
designation of the exhibit, the basis of the objection, and the legal
authorities supporting the objection.

If a party has an objection to the deposition summary or to a designated
portion of a deposition that will be offered at trial, or if a party intends to
offer additional portions at trial in response to the opponent's designation,
and the parties desire a ruling on the objection prior to trial, the party shall
submit the objections and counter summaries or designations to the Court
in writing. Any objections shali be made in the same manner as for
proposed exhibits. However, in the case of objections to video-taped
depositions, the objections shall be brought to the Court's immediate
attention to allow adequate time for editing of the deposition prior to trial.

File objections to any motions in limine, proposed instructions, and voir
dire questions submitted by the opposing parties.

Notify the Court and opposing counsel of requests for separation of
witnesses at trial.

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IX. Other Matters

Video and Telephonic Equipment will be required for certain matters, e.q. Oral
Arguments regarding SJMs for example. Use of Media is also anticipated for Trial on any
remaining issued not decided by the Court’s decisions regarding dispositive motions.

Joseph Michael Dietz Jonathan Patrick Sturgill Craig Edward Kennedy
Attorney for Plaintiff Attorney for Defendant Attorney for Defendant P
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PARTIES APPEARED IN PERSON/BY COUNSEL ON FORA
PRETRIAL/STATUS CONFERENCE.

APPROVED AS SUBMITTED.

APPROVED AS AMENDED.

APPROVED AS AMENDED PER SEPARATE ORDER.

APPROVED, BUT ALL OF THE FOREGOING DEADLINES ARE
SHORTENED/LENGTHENED BY MONTHS.

APPROVED, BUT THE DEADLINES SET IN SECTION(S)
OF THE PLAN IS/ARE SHORTENED/LENGTHENED BY

MONTHS.
THIS MATTER IS SET FOR TRIAL BY ON
. FINAL PRETRIAL CONFERENCE IS
SCHEDULED FOR AT .M.,

ROOM

A SETTLEMENT/STATUS CONFERENCE IS SET IN THIS CASE FOR
AT .M. COUNSEL SHALL APPEAR:

IN PERSON IN ROOM ; OR

BY TELEPHONE, WITH COUNSEL FOR
INITIATING THE CALL TO ALL OTHER PARTIES AND
ADDING THE COURT JUDGE AT ( )

;OR

BY TELEPHONE, WITH COUNSEL
CALLING THE JUDGE'S STAFF AT ( )

>

DISPOSITIVE MOTIONS SHALL BE FILED NO LATER THAN

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Upon approval, this Plan constitutes an Order of the Court. Failure to comply with an
Order of the Court may result in sanctions for contempt, or as provided under Fed. R. Civ. P. 16-
1(f), to and including dismissal or default.

APPROVED AND SO ORDERED.

Date U. S. District Court
Southern District of Indiana

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